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UNITED STATES DISTRICT COURT!" 0 ee. u
SOUTHERN DISTRICT OF NEW YORK” Qa7 2.

 

 

03-md-1570 (GBD\SN)

In re Terrorist Attacks on September 11, 2001
ECF Case

 

This document relates to: 15-cv-9903 (GBD\SN)

Thomas Burnett, Sr., et al. v. The Islamic ECE Case

Republic of Iran, et al.

 

 

 

 

ORDER OF PARTIAL FINAL DEFAULT JUDGMENTS ON BEHALF OF
BURNETIARAN PLAINTIFFS IDENTIFIED AT EXHIBITS A AND B

(BURNETT / IRAN XXIV)

Upon consideration of the evidence and arguments submitted by Plaintiffs identified in

Exhibits A and B to this Order, plaintiffs in Thomas Burnett, Sr., et al. v. The Islamic Republic of

| Iran, et al., Case No. 15-cv-9903 (GBD)(SN), who are each a spouse, parent, child, or sibling (or

the estate of a spouse, parent, child, or sibling) of a victim killed in the terrorist attacks on

September 11, 2001 (as identified on Exhibit A), or the estate of an individual who was killed in

the terrorist attacks on September 11, 2001 (as identified on Exhibit B), and the Judgment by

Default for liability only against the Islamic Republic of Iran, the Islamic Revolutionary Guard

Corps, and the Central Bank of the Islamic Republic of Iran (collectively, the “Iran Defendants”)

entered on January 31, 2017 (15-cv-9903, ECF No.85), together with the entire record in this case,
itis hereby;

ORDERED that service of process was effected upon the Iran Defendants in accordance
with 28 U.S.C. § 1608(a) for sovereign defendants and 28 U.S.C. § 1608(b) for agencies and
instrumentalities of sovereign defendants;

ORDERED that partial final judgment is entered against the Iran Defendants and on behalf

of the Plaintiffs in Thomas Burnett, Sr., et al. v. The Islamic Republic of Iran, et al., Case No. 15-

 

 
 

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cv-9903 (GBD)\(SN), as identified in the attached Exhibit A, who are each a spouse, parent, child,
or sibling (or the estate of a spouse, parent, child, or sibling) of individuals killed in the terrorist
attacks on September 11, 2001, as indicated in Exhibit A, and it is

ORDERED that Plaintiffs identified in Exhibit A are awarded: solatium damages of
$12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and $4,250,000 per sibling,
as set forth in Exhibit A; and it Is

ORDERED that partial final judgment is entered against the Iran Defendants and on behalf
of the Plaintiffs in Thomas Burnett, Sr., et al. v. The Islamic Republic of Iran, et al., Case No. 15-
cv-9903 (GBD)(SN), as identified in the attached Exhibit B, who are each the estate of a victim of
the terrorist attacks on September 11, 2001, as indicated in Exhibit B, and it is

ORDERED that Plaintiffs identified in Exhibit B are awarded: compensatory damages for
decedents’ pain and suffering in an amount of $2,000,000 per estate, as set forth in Exhibit B (to
the extent not previously so awarded); and it is

ORDERED that Plaintiffs identified in the expert reports attached as Exhibit C to the
Declaration of John M, Eubanks, dated March 2, 2021 (and identified in Exhibit B), are awarded
economic damages as set forth in Exhibit B and as supported by the expert reports and analyses
submitted as Exhibit C of the Eubanks Declaration, and It is

ORDERED that Plaintiffs identified in Exhibits A and B are awarded prejudgment interest
of 4.96 percent per annum, compounded annually, running from September 11, 2001 until the date
of judgment; and it is

ORDERED that Plaintiffs identified in Exhibits A and B may submit an application for

punitive damages, economic damages, or other damages (to the extent such awards have not

 

 
 

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previously been ordered) at a later date consistent with any future rulings made by this Court on
this issue, and it is

ORDERED that the remaining Burnett/Iran Plaintiffs not appearing on Exhibits A or B,
may submit in later stages applications for damages awards, and to the extent they are for solatium
or by estates for compensatory damages’ for decedents’ pain and suffering from the September 11
attacks, they will be approved consistent with those approved herein for the Plaintiffs appearing
on Exhibits A and B.

Dae Hy 5 Ee v York SO ORDERED:
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